       22-50117-mmp Doc#241 Filed 07/05/22 Entered 07/05/22 13:40:08 Main Document Pg 1 of
                                               5

                                            MASTER SERVICE LIST                                       07/05/2022
                                            Activa Resources, LLC
                                              Case No. 22-50117


                                                      COUNSEL FOR KENILWORTH OIL COMPANY


UNITED STATES OF AMERICA                              LAW OFFICES OF MARTIN SEIDLER
STEVEN E SEWARD                                       MARTIN SEIDLER
ASSISTANT UNITED STATES ATTORNEY                      ONE ELM PLACE, STE E-504
601 N.W. LOOP 410, STE 600                            11107 WURZBACH RD
SAN ANTONIO TX 78216                                  SAN ANTONIO TX 78230




COUNSEL FOR BEXAR COUNTY                              COUNSEL FOR LEXON INSURANCE COMPANY


LINEBARGER GOGGAN BLAIR & SAMPSON LLP                 HARRIS BEACH PLLC
DON STECKER                                           LEE E WOODARD,ESQ
112 E PECAN ST.,STE 2200                              333 W WASHINGTON ST.,STE 200
SAN ANTONIO TX 78205                                  SYRACUSE NY 13202




COUNSEL FOR CARGILL INC                               COUNSEL FOR SANTA FE INDEPENDENT SCHOOL
                                                      DISTRICT

WINSTEAD PC                                           PERDUE BRANDON FIELDER COLLINS & MOTT LLP
SEAN B DAVIS                                          MELISSA E VALDEZ
600 TRAVIS ST.,STE 5200                               1235 NORTH LOOP WEST STE 600
HOUSTON TX 77002                                      HOUSTON TX 77008




COUNSEL FOR GALVESTON COUNTY;MADISON COUNTY           COUNSEL FOR STATE OF LOUISIANA, OFFICE OF
                                                      CONSERVATION

LINEBARGER GOOGAN BLAIR & SAMPSON LLP                 STATE OF LOUISIANA, DEPT OF NATURAL RESOURCES
JOHN P DILLMAN                                        RYAN M SEIDEMANN, ASST ATTORNEY GENERAL
P O BOX 3064                                          CIVIL DIVISION/LANDS & NATURAL RESOURCES
HOUSTON TX 77253-3064                                 POST OFFICE BOX 94005
                                                      BATON ROUGE LA 70804-9005




COUNSEL FOR HIDALGO COUNTY; NUECES COUNTY             COUNSEL FOR TEXAS CAPITAL BANK


LINEBARGER GOGGAN BLAIR & SAMPSON LLP                 JACKSON WALKER
DIANE W SANDERS                                       MICHAEL HELD
P O BOX 17428                                         2323 ROSS AVENUE
AUSTIN TX 78760-7428                                  SUITE 600
                                                      DALLAS TX 75201
       22-50117-mmp Doc#241 Filed 07/05/22 Entered 07/05/22 13:40:08 Main Document Pg 2 of
                                               5

                                               MASTER SERVICE LIST                               07/05/2022
                                               Activa Resources, LLC
                                                 Case No. 22-50117


COUNSEL FOR TEXAS CAPITAL BANK F/K/A TEXAS               DEBTOR
CAPITAL BANK N.A.

JACKSON WALKER LLP                                       ACTIVA RESOURCES, LLC
J MACHIR STULL                                           JOHN HAYES
2323 ROSS AVE.,STE 600                                   403 E COMMERCT ST
DALLAS TX 75201                                          SUITE 220
                                                         SAN ANTONIO TX 78205




COUNSEL FOR TEXAS CAPITAL BANK F/K/A TEXAS               GOVT AGENCY
CAPITAL BANK. N.A.

JACKSON WALKER LLP                                       TEXAS WORKFORCE COMMISSION
J SCOTT ROSE                                             TWC BUILDING REGULATROY INTEGRITY DIV
112 E PECANST.,STE 2400                                  101 EAST 15TH ST
SAN ANTONIO TX 78205                                     AUSTIN TX 78778




                                                         UNITED STATES ATTORNEY
COUNSEL FOR THE COUNTY OF LEON, TEXAS
                                                         601 NW LOOP 410
                                                         STE 600
                                                         SAN ANTONIO TX 78216
MCCREARY VESELKA BRAGG & ALLEN PC
TARA LEDAY
P O BOX 1269
ROUND ROCK TX 78680


                                                         TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
                                                         REVENUE ACCT DIV BANKRUPTCY
                                                         PO BOX 13528 CAPITOL STATION
                                                         AUSTIN TX 78711
COUNSEL FOR WESLACO INDEPENDENT SCHOOL
DISTRICT

PERDUE BRANDON FIELDER COLLINS & MOTT L.L.P.
HIRAM GUTIERREZ
2805 FOUNTAIN PLAZA BLVD STE B                           INTERNAL REVENUE SVC
EDINBURG TX 78539                                        CENTRALIZED INSOLVENCY OPERATION
                                                         PO BOX 7346
                                                         PHILADELPHIA PA 19101-7346




COUNSEL FOR WOODBINE PRODUCTION CORPORATION
                                                         INTERNAL REVENUE SVC
                                                         2970 MARKET ST
RITCHESON LAUFFER & VINCENT PC
                                                         MAIL STOP 5Q30133
SCOTT A RITCHESON
                                                         PHILADELPHIA PA 19104-5016
821 ESE LOOP 323 STE 530
TYLER TX 75701
      22-50117-mmp Doc#241 Filed 07/05/22 Entered 07/05/22 13:40:08 Main Document Pg 3 of
                                              5

                                       MASTER SERVICE LIST                                      07/05/2022
                                       Activa Resources, LLC
                                         Case No. 22-50117


GOVT AGENCY                                      TEXAS COMPTROLLER OF PUBLIC ACCOUNTS


UNITED STATES ATTORNEY GENERAL                    TEXAS COMPTROLLER OF PUBLIC ACCOUNTS
DEPT OF JUSTICE                                   CALLAN C SEARCY, ASSISTANT ATTORNEY GENERAL
950 PENNSYLVANIA AVE                              ATTORNEY GENERAL'S OFFICE
WASHINGTON DC 20530                               BANKRUPTCY & COLLECTION DIVISION
                                                  P O BOX 12548
                                                  AUSTIN TEXAS 78711-2548




PROPOSED COUNSEL FOR THE DEBTORS                 TOP 20 UNSECURED CREDITOR


LOEB AND LOEB LLP                                 WOODBINE PRODUCTION CORP
BERNARD R GIVEN II                                118 S KILGORE ST
10100 SANTA MONICA BLVD                           KILGORE TX 75662-2516
STE 2200
LOS ANGELES CA 90067-4120




LOEB AND LOEB LLP                                 KENILWORTH OIL CO
BETHANY D SIMMONS                                 ROBERT SPINDELL, JR
345 PK AVE                                        1626 N PROPSECT AVE
NEW YORK NY 10154                                 APT 2210
                                                  MILWAUKEE WI 53202-2442




                                                  MCALESTER FUEL CO
SECURED CREDITOR
                                                  4900 WOODWAY DR
                                                  HOUSTON TX 77056
TEXAS CAPITAL BANK
ALAN WRAY
745 E MULBERRY AVE
SAN ANTONIO TX 78212


                                                  ARCADIA OPERATING, LLC
                                                  3811 TURTLE CREEK BLVD
                                                  STE 1900
                                                  DALLAS TX 75219
CARGILL INC
9320 EXCELSIOR BLVD
HOPKINS MN 55343



                                                  PAUL R CARL
                                                  5919 BAYOU GLEN RD
                                                  HOUSTON TX 77057
       22-50117-mmp Doc#241 Filed 07/05/22 Entered 07/05/22 13:40:08 Main Document Pg 4 of
                                               5

                                        MASTER SERVICE LIST                             07/05/2022
                                        Activa Resources, LLC
                                          Case No. 22-50117


TOP 20 UNSECURED CREDITOR                         TOP 20 UNSECURED CREDITOR


GEOLOGICAL SUBSCRIPTION                            KALER ENERGY CORP
D/B/A TGS                                          635 STATE HIGHWAY 46 E
PO BOX 733255                                      NO 104
DALLAS TX 75373-3255                               BOERNE TX 78006




FLOGISTIX                                          GREAT TEXAS COMPRESSION LLC
PO BOX 731389                                      18615 TUSCANY STONE
DALLAS TX 75373-1389                               STE 390
                                                   SAN ANTONIO TX 78258




WILSON DIAMOND W MINERAL LP                        LAMB MINERAL, LP
PO BOX 266                                         8607 JOGEVA RISE
CARRIZO SPRINGS TX 78834                           SAN ANTONIO TX 78251




WALTER NICHOLLS COLQUITT                           SBI WEST TEXAS I, LLC
16900 LEXINGTON BLVD                               PO BOX 679270
APT 2133                                           DALLAS TX 75267-9270
SUGARLAND TX 77479-2376




ROBERT C JACOB                                     JETTEX RESOURCES
PO BOX 709                                         PO BOX 570773
SANTA FE TX 77510                                  HOUSTON TX 77257




HERITAGE WELL SUPPLY                               THE COMPLIANCE GROUP, INC
PO BOX 249                                         PO BOX 208674
CHARLOTTE TX 78011                                 DALLAS TX 75320-8674
      22-50117-mmp Doc#241 Filed 07/05/22 Entered 07/05/22 13:40:08 Main Document Pg 5 of
                                              5

                                       MASTER SERVICE LIST                             07/05/2022
                                       Activa Resources, LLC
                                         Case No. 22-50117


TOP 20 UNSECURED CREDITOR


MUSGRAVE FAMILY LLC
QUALITY CONNECTIONS
12620 ROLLING RD
POTOMAC MD 20854-1963




BENVIEW LIMITED PARTNERSHIP
ELEANOR B MARLOW GP
PO BOX 84
LA SALLE TX 77969-0084




SCOTT E TRIPLITT
PO BOX 783
CARRIZO SPRINGS TX 78834




UNITED STATES TRUSTEE


OFFICE OF THE UNITED STATES TRUSTEE
615 E HOUSTON STE 533
SAN ANTONIO TX 78205
